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                   Exhibit A
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                                                    Filed and Attested by the
                                                   Office of Judicial Records
                                                       20 NOV 2017 04:33 pm
                                                            M. BRYANT




                                                              Case ID: 171102058
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                                                              "LLEVE EST A DEMAND A A UN ABOGADO
     "YOU SHOULD TAKE THIS PAPER TO YOUR             INMEDIAT AMENTE. SINO TIENE ABOGADO 0 SINO TIENE
      LAWYER AT ONCE. IF YOU DO NOT HAVE A            ELDINERO SUFICIENTE DE PAGAR TALSERVICIO, VAYA
    LAWYER OR CANNOT AFFORD ONE, GO TO OR           EN PERSONA 0 LLAME POR TELEFONO A LA OFICINA CUY A
         TELEPHONE THE OFFICE SET FORTH BELOW TO DIRECCION SE ENCUENTRA ESC RITA ABAJO PARA AVERIGUAR
FIND OUT WHERE YOU CAN GET LEGAL HELP.                  DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.
     PHILADELPHIA BAR ASSOCIATION                    ASSOCIACION DE LICENDIADOS DE FILADELFIA
     LAWYER REFERRAL & INFORMATION SERV.             SERVICIO DE REFENCIA E INFORMACION LEGAL
            One Reading Center                                        One Reading Center
                  Philadelphia, PA 19107                         Filadelfia, PA 19107
               (215) 238-6333"                                 Telefono: (215) 238-6333"




                                                                                           Case ID: 171102058
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LAW OFFICE OF J. CO NOR CORCORAN, P.C.
J. Conor Corcoran, Esquire
Identification No. 89111
1500 John F. Kennedy Boulevard                                Attorney for Plaintiff
Suite 620
Philadelphia, PA 19102
(215) 735-1135
FAX: (215) 735-1175
e-mail: conor@jccesq.com

                                                              PHILADELPHIA COUNTY
HIDDEN CITY PHILADELPHIA,                                     COURT OF COMMON PLEAS
1315 Walnut Street, Suite 320                                 CIVIL TRIAL DIVISION
Philadelphia, PA 19107
                                                              NOVEMBER TERM, 2017
                       Plaintiff,                             No.

               v.
                                                          To Defendant ABC, Inc.:

ABC, INC.                                                 You have twenty (20) days to respond to the Complaint
                                                          against you enclosed within, or a judgment may be
4100 City Avenue                                          entered against you.
Philadelphia, PA 19131

                       Defendant.
                                                          Attorney for Plaintiff



                                          COMPLAINT
                                            Parties

1.    Plaintiff Hidden City Philadelphia is a Pennsylvania non-profit corporation regularly
conducting a journalism business at 1315 Walnut Street, Suite 320, Philadelphia, PA 19107.

2.     Defendant ABC, Inc. is a New York corporation regularly conducting a journalism
business at 4100 City Avenue, Philadelphia, P A 19131.

3.       Since at least September of 2011, and at any and all times relevant herein, Plaintiff has
owned and operated a Philadelphia based journalism website, which is viewable at
http://hiddencityphila.org, and which specializes in the production of news stories about historic
places not commonly known to the general public in Philadelphia, with a distinctive journalistic
name, journalistic trademark and/or journalistic trade dress, concerning specific areas of
journalistic interest (including but not limited to Philadelphia history; historic artifacts and
locations in Philadelphia; architecture in Philadelphia; urban planning, historic preservation, and
residential and commercial development in Philadelphia; and gentrification in Philadelphia), and
which is called "Hidden City Philadelphia." The content produced by the Plaintiff on its website
is primarily directed for consumption by the general public in and around the City of




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Philadelphia, and is complemented by the Plaintiff's ancillary, periodic production of a festival
concerning rare, historic locations in Philadelphia, called the "Hidden City Festival."

4.      Defendant ABC, Inc. ("ABC") is a New York corporation regularly conducting a
journalism business at 4100 City Avenue, Philadelphia, PA 19131, producing news of interest to
the general public in Philadelphia, where Defendant owns and operates both a television station
(locally known as Channel6 or 6 ABC), and a website, which is viewable at http://6abc.com.
The content produced by the Defendant on its television station and its website is primarily
directed for consumption by the general public in and around the City ofPhiladelphia.

                                        Factual Allegations

5.      Averments 1-4 are incorporated as though fully set forth herein at length.

6.      In 2009, prior to the launching of its journalism website in September 2011, the Plaintiff
hosted the first iteration of its history and architecture festival called the "Hidden City Festival,"
which included tours and artistic performances in, and lectures about, a multitude of historic
locations in and around the City ofPhiladelphia, receiving extensive press acclaim and multiple
awards for the same.

7.     The Plaintiff then launched its journalism website in September 2011, and later produced
another Hidden City Festival in 2013, with similar acclaim and press coverage.

8.     In 2013, Plaintiff's co-editor, Nathaniel Popkin, contacted the Defendant about the 2013
Hidden City Festival, and provided it with information about the same, in the hopes that the
Defendant would produce television and/or website news stories concerning the 2013 Hidden
City Festival, a true and correct copy of which is attached hereto and incorporated herein as
Exhibit A

9.      Accordingly, since at least 2013, the Defendant has been aware ofthe Plaintiff's
existence, and its production of both the Hidden City Festival, and the Plaintiff's news business
of producing Hidden City Philadelphia at http :1/hiddencityphila. org.

10.     As further proofthereof, on September 29, 2016, Defendant's television producer,
Gwendolyn Purdom, emailed Plaintiff's Project Director, Peter Woodall, advising that the
Defendant planned to produce a series of videos called "Hidden Philadelphia," and was seeking
contact information to access the Kelly Natatorium at the Philadelphia Water Works, a rare,
historic location about which Plaintiff had previously produced significant news coverage on its
website. A true and correct copy ofthat email is attached hereto, and incorporated herein, as
Exhibit B.

11.     Accordingly, as evidenced by Exhibits A and B, the Defendant knew about the Plaintiff's
specialized business of news production concerning areas of rare, historic interest in the City of
Philadelphia, and , in particular, locations that are not commonly known to the general public or,
evidently, to the knowledge of the Defendant itself




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12.    Neither Mr. Woodall, nor the Plaintiff, nor any agent thereof, consented to the
Defendant's production of videos concerning areas of rare, historic interest in the City of
Philadelphia, using the name "Hidden Philadelphia" or any permutation thereof

13.     Nonetheless, on or about June 6, 2017, the Plaintiffs co-editor, Nathaniel Popkin,
discovered that the Defendant produced a series of videos on its website called "Hidden
Philadelphia," about a host of rare, historic locations in Philadelphia that were not commonly
known to the general public, at a landing webpage with an address of
http://6abc.com/tag/hidden-philadelphia. A true and correct copy ofthe "screen card" for each
of the Defendant's video presentations on that landing page is attached hereto and incorporated
herein as Exhibit C.

13.     As set forth below, the Defendant produced at least nine (9) journalism videos concerning
rare, historic locations in Philadelphia, using the name "Hidden Philadelphia" as set forth in
Exhibit C and in the URLs for the videos, as follows:

       http://6abc.com/entertainment/hidden-philadelphia-billy-penns-hat/2062819/



       http://6abc.com/entertainment/hidden-philadelphia-a-rare-bird/2066835/

       http://6abc.com/entertainment/hidden-philadelphia-a-sad-statue/2062533/

       http://6abc.com/entertainment/hidden-philadelphia-the-moon-tree/2062680/

       htJp)/Q;:J]~_g_J~Qm/~n1~!1i!inm~ntLhi_d_d_~_n~_p_hit~d-~lphi~-~Jh~-~his_t_o_fi_Q::
       amphitheater/2062616/



       http :1I 6abc. com/entertainment/hidden-philadelphia -underneath-the-
       street/2062859/

       http_:_!/g_~b~,_g_o_mL~_nt_~rJ~inm~_ntLhidd~n::Phil~-d~Jphi~=-'Jnd_~rgrmmd::
       pools/20627 46/http%3 A%2F%2F6abc. com%2F20627 46%2FI

14.     On or about June 6, 2017, the Plaintiffs co-editor, Nathaniel Popkin, emailed April
Carty-Sipp, the Defendant's vice president of programming, to register a complaint that the
Defendant's use of videos about rare, historic locations in Philadelphia, using the name "Hidden
Philadelphia," was done without receiving permission from the Plaintiff to do so, particularly
since the Plaintiff had been producing news stories, under a similar sobriquet, about similar areas
of journalistic interest, since at least 2011, and that the Defendant was "attempting to capitalize
on the good name earned by our tiny non-profit." A true and correct copy of this email is
attached hereto and incorporated herein as Exhibit D.




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15.     The Defendant has refused to take down, or otherwise relabel, the videos which clearly
appropriate the name of the Defendant's news competitor, the Plaintiff herein, despite the
aforementioned, polite request from Mr. Popkin, and the Defendant continues to publish its
videos, as aforementioned in averment 13, despite Mr. Popkin's email in Exhibit D.

16.     April Carty-Sipp did not respond to Mr. Popkin's email of June 6, 2017, and instead left
that up to Theresa W. Karle, Esq., in house counsel for the Defendant, who wrote Mr. Popkin on
June 7, 2017, with the incredible assertion that "the names are not identical- one includes the
word CITY and the other does not." A true and correct copy ofMs. Karle's correspondence is
attached hereto and incorporated herein as Exhibit E.

17.     Ms. Karle also proffered the ridiculous and hypocritical assertion that the news services
provided by the Defendant were not identical to the news services offered by the Plaintiff, by
virtue of the fact that the Plaintiff also uses its name for an "online publication, tours, festivals
and community services." See Exhibit E.

18.      It should be noted that, like the Plaintiff herein, the Defendant also conducts ancillary
activities to its news business, such as Breast Cancer Walks with Independence Blue Cross,
offers to tour "The View" in New York City with Adam Joseph, and perhaps most famously, the
annual Thanksgiving Day Parade, produced by Defendant's local news station, 6 ABC.

19.     None ofthe Defendant's ancillary activities co-opts the Plaintiffs name, or any
permutation thereof, except for the Defendant's news stories concerning rare, historic locations
in Philadelphia, as set forth in averment 13, supra.

20.    Since long prior to the acts of the Defendant complained of herein, the Plaintiff has
marketed, distributed and sold, and continues to market, distribute and sell, its news oriented
goods and services in, among other channels, websites and print media throughout the
Philadelphia area.

21.      Since at least April of2005, the famous "Hidden City Philadelphia" mark has appeared,
and continues to appear, on Plaintiffs product packaging (such as the Plaintiffs website, itself),
retail items such as t-shirts, advertising, promotional materials, displays and the like.

22.    Since at least April of2005, the Plaintiff has marketed, distributed and sold its Hidden
City Philadelphia brand goods and services, bearing the Hidden City Philadelphia mark, in
websites and print media.

23.     Plaintiffs trade dress is an inherently distinctive product branding and/or packaging
which is comprised of the following original and distinctive elements: the provision of news
services under the name of"Hidden City Philadelphia" and adorned with historic ephemera,
video, lectures, tours, and advertisements, that emphasize the Plaintiffs specialty in providing
news goods and services about rare, relatively unknown, historic locations, in and around
Philadelphia.




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24.     The famous and inherently distinctive "Hidden City Philadelphia" trade dress is not
functional, and serves to readily distinguish Plaintiffs news products and services from those of
Plaintiffs competitors, such as Defendant herein.

25.    Plaintiff has sold its line of news goods and services bearing the "Hidden City
Philadelphia" mark and/or trade dress, in substantially the same forms, since at least April of
2005, in Philadelphia.

26.     Plaintiff prominently features the "Hidden City Philadelphia" mark and significant
elements of the "Hidden City Philadelphia" trade dress on signage, t-shirts, posters, point of sale
displays, and other related materials.

27.     The extraordinary success ofPlaintiffs "Hidden City Philadelphia" branded goods and/or
services has fostered wide renown and fame with the trade and public, and as a result of such
success, the long, continuous and exclusive use of the "Hidden City Philadelphia" mark and
trade dress, in connection with news goods and services, consumers in the Philadelphia area have
come to recognize the Plaintiffs "Hidden City Philadelphia" marks and trade dress, and
associate them solely with the Plaintiff and know that Plaintiffs goods and services will be of a
particular quality.

28.    Plaintiff has invested enormous amounts oftime, effort, and money in developing and
marketing its products and services, and the "Hidden City Philadelphia" mark and trade dress in
connection therewith, and is hereinafter collectively referred to as the Plaintiffs Intellectual
Property.

29.     Plaintiff continuously advertises and promotes the Plaintiffs Intellectual Property and the
goods and services sold thereunder in a wide variety of local media, including but not limited to
locally circulated websites, print media, newspapers, magazine, radio and/or major television
broadcast and/or cable networks.

30.    As a result ofPlaintiffs time, effort, widespread promotion and advertising, and
expenditures for the same in the development, marketing, advertising and promotion of the
Plaintiffs "Hidden City Philadelphia" mark and trade dress, the Plaintiffs Intellectual Property
has acquired and maintains an outstanding fame and popularity in the Philadelphia area.

31.     The Plaintiffs Intellectual Property has acquired enormous value and has become famous
to the consuming public and trade as identifying and distinguishing Plaintiffs goods and services
from those of its competitors.


                                Defendant's Unlawful Activities

32.     Upon information and belief, the Defendant provides news goods and services, using the
Plaintiffs "Hidden City Philadelphia" mark and/or trade dress or an identical permutation
thereof, as aforementioned in averment 13, supra, without the permission or authorization of the




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Plaintiff and, in fact, in explicit contravention of the Mr. Popkin's written request that they
should not be so doing. See Exhibit D.

33.     Defendant's advertising and/or actual provision of news goods and services, as
aforementioned, featured simulations, confusingly similar variations, and/or imitations of the
Plaintiffs "Hidden City Philadelphia" mark and trade dress, which is inherently distinctive and
protectable to the exclusive right ofPlaintiffherein.

34.    Defendant deliberately infringed upon the Plaintiffs "Hidden City Philadelphia" mark
and trade dress on multiple occasions, and continues to do so. See Exhibit C and averment 13,
supra.

35.   As set forth in averment 13, supra, there are at least nine (9) examples ofthe Defendant's
improper, infringing, willful, unlawful and dilutive conduct (hereinafter referred to as
"Defendant's Infringements") which persist as of the date of this filing.

36.    Upon information and belief, Defendant marketed, distributed and sold the Defendant's
Infringements through its interactive online website, print media, public transit advertisements,
product catalogue, advertisements, television, radio and other third party websites and retailers.

37.     Defendant's production, marketing, advertising, promotion, distribution and sale of the
Defendant's Infringements substantially affected commerce within the City ofPhiladelphia, by
virtue of the fact that Defendant's activities adversely affect the reputation and goodwill of
Plaintiff within the City ofPhiladelphia, and/or its ability to exclusively control its own marks
and trade dress, because that's where Plaintiffs news goods and services are located and
produced and sold.

38.    Upon information and belief, Defendant can claim no rights to the Plaintiffs "Hidden
City Philadelphia" mark and/or trade dress which is in conflict with the rights of Plaintiff to the
same "Hidden City Philadelphia" mark and/or trade dress.

39.     Despite being put on constructive notice ofPlaintiffs rights in their famous marks and/or
trade dress by way ofMr. Popkin's email in Exhibit D, Defendant nonetheless willfully diluted
and infringed, and/or continues to willfully dilute and infringe, Plaintiffs mark and trade dress
by using variations, simulations, or colorable imitations of such marks as set forth in averment
13, supra, in violation ofPlaintiffs rights.

40.     Upon information and belief, Defendant has adopted, used, and is planning to use the
Defendant's Infringements with the intent and purpose of commercially exploiting and trading
upon the fame, recognition, reputation and extensive goodwill built up by the Plaintiff in the
"Hidden City Philadelphia" mark and trade dress and to reap the benefits of years of effort and
investment by Plaintiff to create public recognition of the "Hidden City Philadelphia" mark and
trade dress. Defendant's conduct is intentionally fraudulent, malicious, willful and wanton.

41.     Defendant's acts complained of herein have been committed with knowledge that such
acts are intended to cause confusion, or to cause mistake, or to deceive.



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42.    Defendant's adoption and use ofthe Defendant's Infringements in connection with the
provision of news goods and services was likely- and in fact did cause - confusion in the minds
of consumers because they mistakenly believed that the Defendant's news products and services
were affiliated with the Plaintiffs news products and services.

43.     Defendant's adoption and use ofthe Defendant's Infringements likely tarnished the
Plaintiffs "Hidden City Philadelphia" mark and trade dress with large scale corporate affairs like
the Defendant's news goods and services, which is in contravention to the independent branding
explicitly undertaken to promote Plaintiffs news goods and services. Such an association will
undermine and damage the substantial goodwill and reputation associated with Plaintiff, its
mark, its trade dress, and its goods and services, which Plaintiff has spent tremendous amounts
of time and money to develop, and will dilute the distinctiveness of the Plaintiffs mark and trade
dress.



                                   COUNT I
                        PLAINTIFF V. DEFENDANT
         PENNSYLVANIA TRADEMARK ACT AND UNFAIR COMPETITION
                   54 Pa.C.S.A. §§ 1101, 1123, 1124 and 1125


44.    Averments 1-43 are incorporated as though fully set forth herein at length.

45.  Plaintiff is the owner of a mark ("Hidden City Philadelphia") which is famous in this
Commonwealth.

46.    Defendant knowingly, willfully, outrageously, intentionally, wantonly, recklessly and/or
maliciously used and/or abused Plaintiffs mark by using it for the provision of its news goods
and services, as aforementioned.

47.     Defendant's actions and/or inactions in this regard have caused the dilution ofthe
distinctive quality of Plaintiffs mark.

48.     Defendant knowingly, willfully, outrageously, intentionally, wantonly, recklessly and/or
maliciously intended, on multiple occasions as aforementioned, to trade on the Plaintiffs
reputation or to cause dilution of Plaintiffs mark.

49.     Defendant knowingly, willfully, outrageously, intentionally, wantonly, recklessly and/or
maliciously and/or in bad faith used Plaintiffs name, trademark, service mark and/or trade dress
in the provision of its news goods and services, as aforementioned.

50.     Defendants realized tremendous profits from the provision of its news goods and
services, as a consequence of utilizing the Plaintiffs "Hidden City Philadelphia" mark and/or
trade dress in its provision of its news goods and services, thereby constituting unfair




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competitiOn. Defendant's actions in these regards constitute common law trade dress
infringement, trademark infringement (regardless of registration status), unfair competition, and
a false designation of origin.

        WHEREFORE, pursuant to 54 Pa.C.S.A. § 1125, Plaintiff respectfully requests judgment
against the Defendant; an Order requiring the Defendants to pay to Plaintiff all profits derived
from and all damages suffered by reason of their wrongful use, display or sale ofPlaintiffs name
and/or mark(s) and/or trade dress; an Order providing an injunction against the Defendant,
prohibiting any further use of the Plaintiffs name, mark, trade dress, or any permutation thereof;
plus punitive and/or treble damages and reasonable attorney fees, in excess of $250,000 (TWO
HUNDRED FIFTY THOUSAND DOLLARS).


                                     COUNT II
                              PLAINTIFF V. DEFENDANT
                            COMMERCIAL DISPARAGEMENT

51.    Averments 1-5 0 are incorporated as though fully set forth herein at length.

52.     The Defendant knew or should have known that its advertisements, signage, and other
similar promotions of its news goods and services as "Hidden Philadelphia" falsely
communicated to consumers that the Plaintiff, and its news goods and services, were providing
the aforementioned videos.

53.    The videos that were fraudulently produced by the Defendant were grossly inferior to the
goods and services actually offered to consumers by the Plaintiff

54.     The Defendant knew or should have known that such a false communication to
consumers in the City ofPhiladelphia and Commonwealth ofPennsylvania would cause
financial loss to the Plaintiff, and the Defendant's insistence on continuing to use the "Hidden
Philadelphia" name, despite written notice to the contrary as aforementioned in Exhibit D,
constituted an intentional action on the part of the Defendant to cause such financial loss to
Plaintiff

55.     The Plaintiff suffered tremendous financial losses as a consequence of the Defendant's
insistence on producing its unlawful "Hidden Philadelphia" news goods and services, including
but not limited to lost advertising, lost promotional opportunities, and the slander ofPlaintiffs
goodwill, reputation, and goods and services.

56.     The Defendant explicitly knew that the communication to consumers in the City of
Philadelphia, and the Commonwealth ofPennsylvania, that the Plaintiff was producing or in any
way connected with the aforementioned videos was false, and/or was in reckless disregard of the
falsity of such a communication.

        WHEREFORE, Plaintiff respectfully requests judgment against the Defendant; an Order
requiring the Defendants to pay to Plaintiff all profits derived from and all damages suffered by



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reason of their wrongful use, display or sale ofPlaintiffs name and/or mark(s) and/or trade
dress; an Order providing an injunction against the Defendant, prohibiting any further use of the
Plaintiffs name, mark, trade dress, or any permutation thereof; plus punitive and/or treble
damages and reasonable attorney fees, in excess of $250,000 (TWO HUNDRED FIFTY
THOUSAND DOLLARS).



                                             Respectfully Submitted,

                                             LAW OFFICE OF J. CONOR CORCORAN, P.C.


Date: October 16, 2017
                                                  nor Corcoran, Esquire
                                              tty. I.D. No. 89111
                                             1500 John F. Kennedy Boul
                                             Suite 620
                                             Philadelphia, P A 1910
                                             Phone: (215) 735-1 5
                                             Fax: (215) 735-11
                                             Email: conor@jc esq.com




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         I, Peter Woodall, on behalf of Plainti1T Hidden City Philadelphia, hereby verity that I am
authorized to make this Verification on its behalf; that the averments (.~ontained in the attached
Complaint arc true and correct to the best of my knowledge, information, and belief.. and that I make
this Veri:1:1cation su~ject to 18 Pa.CS.A section 4904 relating to unsworn thlsif:ication to authorities,



                                                Respeti:fully Submitted,




Date: October 16, 2017




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LAW OFFICE OF J. CO NOR CORCORAN, P.C.
J. Conor Corcoran, Esquire
Identification No. 89111
1500 John F. Kennedy Boulevard                                Attorney for Plaintiff
Suite 620
Philadelphia, PA 19102
(215) 735-1135
FAX: (215) 735-1175
e-mail: conor@jccesq.com

                                                              PHILADELPHIA COUNTY
HIDDEN CITY PHILADELPHIA,                                     COURT OF COMMON PLEAS
1315 Walnut Street, Suite 320                                 CIVIL TRIAL DIVISION
Philadelphia, PA 19107
                                                              OCTOBER TERM, 2017
                      Plaintiff,                              No.

               v.
                                                          To Defendant ABC, Inc.:

ABC, INC.                                                 You have twenty (20) days to respond to the Complaint
                                                          against you enclosed within, or a judgment may be
4100 City Avenue                                          entered against you.
Philadelphia, PA 19131

                      Defendant.
                                                          Attorney for Plaintiff



                                   CERTIFICATE OF SERVICE

    I, J. Conor Corcoran, Esquire, hereby certify that a true and correct copy of the foregoing
              Complaint was sent to the following via email and/ or first class mail:

                                     Theresa W. Karle, Esq.
                                           ABC, Inc.
                                    Ih~r~~f!:,wJq~_d~@~_b_g_,~Qm


                                              Respectfully Submitted,

                                              LAW OFFICE OF J. CONOR CORCORAN, P.C.


Date:   11/20/17
                                                   or Corcoran, Esquire
                                                 omey for Plaintiff




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  Subject:     Fwd: Hidden City Festival

  From:        Nathaniel Popkin (nathaniel.popkin@gmail.com)


  To:        lxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
  Date:        Monday, October 16,2017 2:48PM




          Begin forwarded message:

          From: Nathaniel Popkin <nathaniel.popkin@gmail.com>
          Subject: Re: Hidden City Festival
          Date: June 19, 2013 at 10:09:03 AM EDT
          To: "Munich, Linda" <Linda.Munich@abc.com>
          Cc: "Daughenbaugh, Wendy" <Wendy.Daughenbaugh@abc.com>, "Husar,
          Tanya" <Tanya.Husar@abc.com>, "Neilan, Mike" <Mike.Neilon@abc.com>,
          "Crooks, Maxine J." <Maxine.J.Crooks@abc.com>, "Royal, Rob"
          <Rob.Royal@abc.com>, Peter Woodall <pwoodall@hiddencityphila.org>, Lee
          T usman < ltusm an@h iddencityph iIa. org>

          Linda,

          Thanks very much.

          Producers should connect with Lee Tusman (ltusman@hiddencityphila.org) or Peter Woodall
          (pwoodall@hiddencityphila.org) to arrange access and think through sites and coverage.

          best
          Nathaniel

          On 6/19/2013 10:06 AM, Munich, Linda wrote:

                   Nathaniel,

                   The Hidden City Festival sounds like an interesting and different experience.
                   I am sharing your information with producers, a news planner and our assignment
                   manager.
                   Hopefully, they will be able to consider coverage before your season ends.




                   From: Nathan ie I Popkin L!!!9.l).t.Q.~D.9Jb.~.o.l~.l:.P..Q.P..~Lo.@gm.~.U,.~Qf.D.l
                   Sent: Wednesday, June 05, 2013 10:35 PM
                   To: Munich, Linda
                   Subject: Hidden City Festival

                   Dear Linda,




https://mail.yahoo.com/                                                                                  11/20/2017
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                   I work closely with Sam Katz on the Philadelphia history documentary and I
                   also edit a web magazine called the Hid.d.~!!..~it.y___Q_§,_ily. This year Hidden
                   City is holding its second festival (the first was in 2009)--a celebration of
                   urban exploring and art. The Festival began May 23; nine wonderful and
                   truly hidden sites across the city of Philadelphia, each animated by engaging
                   and wonderful art, are open each Thursday-Sunday 12-7 through June 30. In
                   addition, we're offering dozens of tours, concerts, and performances.
                          ----------------· for the PDF version of our Festival Guide and ·---------------·
                   Click HERE                                                             HERE for the
                   Festival Website.

                   Would 6ABC be interested in covering the Festival? With nine sites, and ten
                   different artist projects, there are plentiful visuals and stories to tell. I'd be
                   happy to give you a highlight list and/or help direct your folks to some of the
                   great people involved.

                   all the best,
                   Nathaniel



                   Nathaniel Popkin
                   n~_th.St.n!_t;.!R.<2RkinJJ.t;.t




                   Co-producer and senior script editor, "Philadelphia: The Great Experiment"
                   History Making Productions




        Nathaniel Popkin
        m!hi!m!'Jngr.!si!uw.\


        Co-producer and senior script editor, "Philadelphia: The Great Experiment"
        History Making Productions

        Editorial Director, Hidden City Philadelphia




 Nathaniel Popkin
 nathanielpopkin.net
 @NathanielPopkin




https://mail.yahoo.com/                                                                                       11/20/2017
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  Subject:    Fwd: Kelly Natatorium Video Shoot Inquiry from WPVI-TV/ZaZoom Media

  From:       Peter Woodai~XXXXXXXXXXXXXXXX

  To:      lxxxxxxxxxxxxxxxxxxxxxxxxxxxx
  Date:       Tuesday, June 6, 2017 12:53 PM



lxxxxxxxxxxxxxxx
 ---------- Forwarded message ----------
 From: Gwendolyn Purdom <gwenpurdom@gmail.com>
 Date: Thu, Sep 29, 2016 at 9:25AM
 Subject: Kelly Natatorium Video Shoot Inquiry from WPVI-TV/ZaZoom Media
 To: pwoodall@hiddencityphila.org


 Hi Peter,

 I wanted to reach out as I'm a producer working with WPVI there in Philadelphia to put together a short video series called
 Hidden Philadelphia that will explore several interesting, quirky or little-known places in the city. You can take a look at
 some episodes we did in New York here to get a better idea of what we're doing.

 We'd love to feature the abandoned Kelly Natatorium and I wanted to see who the best person to talk to would be if we
 wanted to send our cameraman over to get some footage next week? Early week would be ideal but we're happy to work
 around your schedule as best we can. It shouldn't take too long as these are one-minute videos. It would only be footage of the
 space, no interviews or anything.

 Please let me know when might work. I can be reached via email or by phone at 630-674-2690.

 Thanks so much!

 Gwen Purdom



 Gwen Purdom
 gwenpurdom@gmail. com
 cell: (630) 674-2690
 www.gwendolynpurdom.com




https://mail.yahoo.com/                                                                                            11/20/2017
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  Subject:    Fwd: Hidden Philadelphia

  From:       Nathaniel Popkin   lxxxxxxxxxxxxxxx
  To:      lxxxxx~xxxx~~xxx~xxxx~xxxx~xxx~xxxxxxxxxxxxx
  Date:       Monday, October 16,2017 2:45PM




          Begin forwarded message:

          From: Nathaniel Popkin <nathaniel.popkin@gmail.com>
          Subject: Re: Hidden Philadelphia
          Date: June 6, 2017 at 5:35:39 PM EDT
          To: "Carty-Sipp, April" <Aprii.Carty-Sipp@abc.com>

          Dear April,

          Hope you're well!

          My colleagues at Hidden City Philadelphia have just become aware of the video series
          that uses the title "Hidden Philadelphia." We believe this infringes on our trademark.

          Given the name of the program and the theme, I'm a little troubled that 6ABC would
          conceive of such a program without reaching out to me or my colleagues. Under the
          name Hidden City Philadelphia, we have been revealing and reporting on places in the
          city since 2009. "Hidden City Philadelphia," which goes along with a particular product,
          is well-known and highly valued in the city and region.

          I'd like to request that we begin a conversation to resolve this problem.

          My best,
          Nathaniel



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https://mail.yahoo.com/                                                                        11/20/2017
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Ginc.
     Theresa W. Karle
     Assistant Chief Counsel




 June 7, 2017



  BY EMAIL & REGULAR MAIL

 Nathaniel Popkin
 Hidden City Philadelphia
 c/o CultureWorks Greater Philadelphia
 The Philadelphia Building
 1315 Walnut Street, Ste. 320
 Philadelphia, PA 19107-4701

 Dear Mr. Popkin:

          I write in response to your recent email to April Carty-Sipp, WPVI--Vice President Program
 Director, complaining about a series of videos on WPVI's website entitled HIDDEN PHILADELPHIA, which
 is part of an ABC News nationwide HIDDEN AMERICA campaign.

          We do not agree that there is any likelihood of confusion between the HIDDEN CITY
 PHILADELPHIA activities, and WPVI's use of HIDDEN PHILADELPHIA. The names are not identical- one
 includes the word CITY and the other does not. The services offered are not identical. HIDDEN CITY
 PHILADELPHIA, according to its website, uses its name for an online publication, tours, festivals and
 community services. WPVI uses the name for a series of videos on its own website. The context in
 which consumers encounter the name reduces the likelihood of confusion because WPVI uses HIDDEN
 PHILADELPHIA in close proximity to its own mark. Most importantly, the names are descriptive. As the
 United States Supreme Court said in the case of KP Permanent Makeup v. Lasting Impressions, Inc. in
 2004, "If any confusion results, that is a risk the plaintiff accepted when it decided to identify its product
 with a mark that uses a well-known descriptive phrase."

          Should you wish to discuss this matter further, please contact me directly.



                                                                             Very truly yours,




    77 West 66th Street, New York, NY 10023-6201
    p: 212.456.7388 f: 212.456.2150 theresa.w.karle(clabc.com
